qinAO2458     Case
             (Rcv.    3:11-cr-30010-PKH
                               in a CriminalCase
                  06/05).ludgment                  Document 45            Filed 05/07/12          Page 1 of 5 PageID #: 127
             SheetI



                                                DISTRIcTCounr
                                    UhrrrpDSTATES
                     WESTERN                                 Districtof                             ARKANSAS
         UNITED STATESOF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                    V.

                  IRENEOARRIZON                                     CaseNumber:                      3 :I l C R 3 0 0 l 0 - 0 0 3

                                                                    USM Number:                      I 0760-0
                                                                                                            I0

                                                                    SteveHall
                                                                    Ifefendant's Attomey
THE DEFENDANT:
X pleadedguiltyto count(s)       Five(5) of theIndicfment
                                                        on February13, 2012
I pleadednolo contendereto count(s)
  which was acceptedby the court.

n was found guilty on count(s)
  aftera pleaof notguilty.

Thedefendant           guiltyoftheseoffenses:
          is adjudicated

Title & Section              Nature of Offense                                                        OffenseEndcd                  Count

2l U.S.C$
        . 8al(a)(l)          Possession
                                      with Intent to DistributeMethamphetamine                                  I
                                                                                                        08/04/20t                    5




      Thedefendant           asprovidedin pages2 through
                  is sentenced                                            5        of thisjudgment,with thecourtconsidering
                                                                                                                          the
guidelines
         asnon-bindingandadvisoryonly.

n Thedcfendant
            hasbeenfoundnot guiltyon count(s)

X Counts       Four (4), and the ForfeitureAlleeation                are disrnissedon the motion of the government.

         It is orderedthat the defendantmust notifo the United Statesattornevfor this district within 30 daysof anv chanseof name,residcnce,
                                                                         imposedby thisjudgmentarefully paid.-If ordEredto pay restitution.
or mailing addressuntil all fines,restitution,costs,ind specialassessments
the defen-dantmust notifo the court and United Statesa:ttomevof material chhncesifr ecoriomic circumstan-cds,

                                                                    M a v7 . 2 0 1 2
                                                                    Dateof Imposition
                                                                                    ol'Judgment


                                                                    /S/ P.K. Holmes I I I
                                                                    Signature
                                                                            ol'Judge




                                                                            P.K.Holmes.III. ChiefUnitedStatesDistrictJudee
                                                                    Honorable
                                                                    NameandTitleof Judge


                                                                    Mav7. 2012
nO 2458       Case
           (Rev.      3:11-cr-30010-PKH
               06/05)Judgmentin CriminalCase      Document 45              Filed 05/07/12     Page 2 of 5 PageID #: 128
           Sheet2 - Imprisonment
                                                                                              Judgment-Pagc    2     ol
DEFENDANT:                IRENEOARRIZON
CASENUMBER:               3:llCR300l0-003


                                                        IMPRISONMENT

       Thedefendant                                                                              for a
                                   to thecustodyof theUnitedStatesBureauof Prisonsto be imprisoned
                  is herebycommiffed
totaltermof:    sixty (60) months.




  !   Thecourtmakesthefollowinsrecommendations
                                            to theBureauof Prisons:




  X   The defendantis remandedto the custodyof the United StatesMarshal.

  I   The defendantshall surender to the United StatesMarshal for this district:

      ! a t                                  !   a.m.     n   p,m,     on

      tr    asnotifiedby the UnitedStatesMarshal.

  n   Thedefendant
                shallsurenderfor serviceofsentence                        by theBureauofPrisons:
                                                 attheinstitutiondesigrrated

      n     before2 p.m.on

      n     as notified by the United StatesMarshal.

      n     as notified by the Probationor Preffial ServicesOfTice.



                                                              RETURN
I have executedthis judgmentas follows:




      f)efendant
               delivered
                       on                                                          to

                                                 with a certifiedcopyof thisjudgment,



                                                                                            UNITHDS'IA"IESMARSIIAL


                                                                      By
                                                                                        DEPUTYUNII'HDSTATESMARSI{AL
AO 2458    (Rev.06/05)Judgment
                             in a CriminalCase
              Case
           Sheet      3:11-cr-30010-PKH
                3 - Supervised
                             Release              Document 45              Filed 05/07/12       Page 3 of 5 PageID #: 129
                                                                                                  Judgmcnt*Page   _.-]-    ol'   _:-
DEFENDANT:               IRENEOARRIZON
CASENUMBER:              3:llCR300l0-003
                                                  SUPBRVISEDRELEASE
    Defendant is placedon supervisedreleasefor a termof:                                       which term shall commenceimmediatelv
uponhis releasefrbm irnprisoninent,
                                 andwhich shallbe serv


 I . Within72 hoursof release
                            fromcustodyof theBureauof Prisons,         shallreportin personto theprobationofficcin the
                                                             thedefendant
    districtto whichthedefendant
                              is released.

2 . Thedefendant
               shallnot commitanotherfederal.stateor localcrime:thedefendant   shallbeprohibitedfrompossessinea fiream or other
    dangerous
            device;andthedefendant
                                 shallnotule, possess,  or haveanlahingat all to do with anycontrolled'substancei.

    Thedefendant                                       drugtestingprovisions
              $hallbe requiredto complywith themandatory                   of l8 U.S.C.$ 3583(d).

4 . Thedefendant
              shallcomplywiththeDNA collection
                                             provisions
                                                      of l8 U.S,C.$ 3583(d).

5 . If thisjudgmentimposes a fine or restitution,                            release
                                                it is a conditionof supervised                   payin accordance
                                                                                   thatthedefendant            with the
    Schediile           sheetof thisjudgmenf.
              6f Paymeirts

6, Thedef'endant
              shallcomplywith theStandard
                                        Conditionsof Supervised Release
                                                                      asrecommended   by theUnitedStatesSentencing
   Commissionandassetoufbelowon thispageof thejudgment,hs well asanyadditionalconditions            page.
                                                                                       bn theattached


                                   STANDARD CONDITIONS OF SUPERVISION
  I)              shallnot leavethejudicialdistrictwithoutthepermission
        thedefendant                                                  of thecourtor probationofficer;
  2)    thedefendant                                                     directedby thecourtor probationofficer.
                  shallreportto theprobationofficerin a mannerandfrequency
  3)    thedefendant
                  shallanswertruthfullyall inquiriesby theprobationofficerandfollowtheinstructions
                                                                                                 of theprobationofficeri
  4)    thedefendant
                  shallsupporthis or herdependents
                                                andmeetotherfamilyresponsibilities;
  5)    the defendant
                    shallwork regularlyat a lawfuloccupation,          by the probationofficerfor schooling,
                                                           unlessexcused                                   training,or other
        acceptable
                 reasons;
  6)    the defendantshall notify the probationofficer at leastten daysprior to any changein residenceor employment;
  7)    the defendantshall refrain from excessiveuse ofalcohol and shallnot purchase,possess,use,distribute,or administerany
        controlledsubstanceor any paraphernaliarelatedto any controlledsubstances, bicept as preicribed by h physician;
  8)    the defendantshall not frequentplaceswherecontrolledsubstances
                                                                     are illegally sold, used,distributed,or administered;
  e) the defendantshall not associatewith any personsengagedin criminal activity and shall not associatewith any personconvictedof a
        felony, unlessgrantedpermissionto do sb'by the pro6aiionofficer;
 l 0 ) the defendantshall permit a probationofficer.tovisit him or her at any time at home or elsewhereand shall permit confiscationof any
        conhabandobservedin plain view ofthe probationofficer;
 I l)   the defendantshallnotily the probationofficer within seventy-twohoursof being amestedor questionedby a law enfbrcementofficer;
 l2)    the defendantshall not enter into any agreementto act as an informer or a specialagent of a law enforcementagencywithout the
        uermissionof the court: and
 l3)-   *n. O.tnnduntshall - u, Oir**t*Oby the nrobation officer - notifo third nartiesof risks that mav be occasioncdbv the def'endant's
        criminal recordor personalhistory"orcharacteristicsand shall permit the probationofTjcerto maftesuchnotificatioirsand to confirm
        the defendant'scompliancewith such notificationrequirement.
AO 2458       (Rcv.06/05)Judgment
                                in a CriminalCase
                 Case 3:11-cr-30010-PKH
              Sheet5 - CriminalMonctarvPcnalties
                                                     Document 45                Filed 05/07/12         Page 4 of 5 PageID #: 130
                                                                                                  Judgmcnt-   Page     4      of -5--
DEF-ENDANT:                      IRENEOARRIZON
CASENUMBER:                      3 :ll C R 3 0 0 l 0 -0 0 3
                                           CRIMINAL MONETARY PENALTIES
      '[he
             defendantmustpay the total criminal monetarypenaltiesunderthe scheduleof paymentson Sheet6.


                      Assessment                                        Fine                              Restitution
TOTALS              $ 100,00                                          s 7.500,00                        $ '0 -


n                    of restitution
      Thedetermination            is defeneduntil                     An Amended Judgment in a Criminal Case(AO 245C) will be entered
      aftersuchdetermination,
      'fhe
n            defendantmust make restitution(including communityrestitution)to the following payeesin the amountlisted below.

      If the defendantmakesa partial payment,eachpayeeshall receivean approximatelyproportionedpayment,unlcssspecifiedotherr,visc   in
      the priority order or percbntageirayment'coluninbelow. However,puisuantto l8lJ.S.C. $ 3664(i), all nonfederalVictimsmust be paid
      befrlrethe'UnitedStdtesis paid.'

Name of Pavee                              TotalLosgl                           Restitution Ordered                  Priority or PerceItai,c




TOTALS


 !     Restitutionamountorderedpursuantto plea agreement $

 tr   l'he defendant                            anda fine of morethan$2,500,unlesstherestitutionor fine is paidin full bcl'orethe
                    mustpayintereston restitution
      fifteenthdayafterthedateof thejudgment, pursuantto l8 U.S.C.$ 3612(f) All of thepaymentoptionson Sheet6 maybe subject
      to penalties             anddefault,pursuant
                 for delinquency                  to l8 U.S.C.$ 3612(g).

X      Thecourtdetermined             doesnothavetheabilityto payinterestandit is orderedthat:
                        thatthedefendant

       X     theinterest
                       requirement
                                is waivedfor the           X       fine   n   restitution.

       tr    theinterestrequirement
                                 for the       n    fine       n               is modifiedasfollows:
                                                                     restitution


* Findingsfor thetotalamountof losses                      109A,I 10,I l0A, andI I 34 of Title I 8 for offenses
                                    arerequiredunderChapters                                                  committed
                                                                                                                      on or after
Septemb-er I3, 1994,butbeforeApril23, l99ti.
nO 245ts   (Rev.06/05).ludgment
                              in a CriminalCase
             Case 3:11-cr-30010-PKH
           $heet6 - Schedule
                           of Payments
                                                   Document 45          Filed 05/07/12     Page 5 of 5 PageID #: 131
                                                                                              Judgment-Pagc   -!_     ttl'      5
DEFENDANT:                IRENEOARzuZON
CASENUMBER:               3:llCR300l0-003

                                                  SCHEDULEOF PAYMENTS

Havingassessed                                                         penalties
                        abilityto pay,paymentof thetotalcriminalmonetary
            thedefendant's                                                     aredueasfbllows:

A    X     Lumpsumpaymentof $         l-600.00          dueirnmediately,
                                                                      balance
                                                                            due

           tr   notlaterthan                                 'of
           tr   in accordance I         C,    I    D,   tr    E,or     n F below;or
 l l n     Payment               (maybecombined
                to beginimmediately           with                   n C,    I D, or   n F below);or
c    !     Paymentin equal                  (e.g.,weekly,monthly,quarterly)installmentsof $                  overa periodof
                         (e,g,,monthsor years),to commence            (e.g.,30 or 60 days)afterthedateof thisjudgment;or

D    n     Paymentin equal               (e,g,,weekly,monthly,quarterly)installmentsof $                  overa periodol'
                      (e.g.,monthsor years),to commence            (e.g.,30 or 60 days)afterreleasefrom imprisonmentto a
           termofsupervision;or

     n Paymentduringthetermof supervjsedreleasewill commencewithin              (e.g,,30 or 60 days)afterreleascfiom
                      Thecourtwill setthepaymentplanbasedon an assessment
           imprisonment.                                               of thedefendant'sabilityto payat thattime;or

     n Specialinstructionsregardingthepa)4nentof criminalmonetarypenalties:




 Unlessthe court hasexnresslvorderedotherwise.if this iudsmentimposesimprisonment.pavmentof criminal monetarvnenaltiesis dueduring
 imprisonment. All criminal monetary penalties,excriptihose paymentsmade througli the Federal Bureau of Prisons' lnrnate Financia'l
 Re'sponsibilityProgram,are madeto the clerk of the court.

l'he defendantshall receivecredit for all paymentspreviouslymadetoward any criminal monetarypenaltiesirnposed.




 n   Joint and Several
                                                                             'l'otal
     Defendantand Co-DefendantNamesand CaseNumbers(includingdefendantnumber),        Amount, Joint and SeveralAmount,
     and correspondingpayee,if appropriate.




tr             shallpaythecostofprosecution.
     Thedefendant

 n             shallpaythefollowingcourtcost(s):
     Thedefendant
     'l'he
 n        defendant                      interestin thefollowingpropertyto theUnitedStates:
                 shallforfeitthedefendant's




Pa),rnents shallbe appliedin thefollowingorder:(l) assessment,             principal,(3) restitutioninterest,
                                                             (2) restitution                               (4) fineprincipal,
(5f fine interest,
                 (6)'iommunityrestitution',
                                         (7) perialties,
                                                      and(8)'cbits,includinficostbf prbiecutionandcourtcbits,
